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UNITED STATES DISTRICT COURT

DISTRICT OF MASSACHUSETTS

) .
IN RE PHARMACEUTICAL INDUSTRY) M.D.L. No. 1456
AVERAGE WHOLESALE PRICE ) Civil Action No. 01-12257-PBS
LITIGATION . -)

)

Judge Patti B. Saris

) REPORT OF INDEPENDENT EXPERT
PROFESSOR ERNST R. BERNDT

TO JUDGE PATTI B. SARIS

FEBRUARY 9, 2005
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relationship between these list prices and actual acquisition costs is “constant” over time.
Specifically, when introducing the National Association of Chain Drug Stores PRIME price
index for the “Top 200 drugs by 1991 dollar volume sold through community pharmacies” based
on Medi-Span list price data, he wrote:

“Even though the AWP does not represent the actual price paid by pharmacies for
drug products, there is typically a constant relationship between these list prices
and the actual acquisition cost for most pharmacies. Manufacturers nearly always
raise their list prices and their actual transaction prices to traditional community
pharmacies at the same rate. Manufacturers’ price change patterns have been
monitored to identify and adjust for those cases where list prices and direct prices
appear to have changed at a different rate. 3

77. Part of the continued confusion apparently emanates from statements made by First
DataBank, a publisher of AWP prices. For example, in the September 1991 issue of a First
DataBank’s publication, in an article entitled “Understanding AWP", the following definition
appears:

“A WP represents an average price which a wholesaler would charge a pharmacy .
for a particular product. The operative word is average. AWP never means that
every purchase of that product will be exactly at that price. There are many
factors involved in pricing at the wholesale level which can modify the prices
charged even among the same wholesaler. AWP was developed because there
had to be some price which all parties could agree upon if machine processing
was to be possible.”!*

78. Essentially the same definition of AWP is given today. For example, the American
Society of Consultant Pharmacists’ website contains an “A WP Briefing Room” backgrounder on

“A WP Changes for intravenous, inhalant and injectable Medications” in which information is

"3 Stephen W. Schondelmeyer, “The NACDS PRIME Index: Tracking Changes in Drug Prices”, prepared for
National Association of Chain Drug Stores, August 14, 1992, pp. 1-2. Italics in original. I note that elsewhere
Professor Schondelmeyer has stated that the meaning of price terms have changed over time. See, for example,
Schondelmeyer and Wrobel [2004], supra, p. 13.

114 First DataBank Monthly Interest, “Understanding AWP”, Vol. 6, No. 9, September 1991, p. 1. FDB-A WP
28850-28852.

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given “on how AWP is calculated” by First DataBank (“FDB”). This internet search process
yielded the following statement:

“I have many conversations regarding what is ‘AWP’ and how does FDB
_ determine it. There is much folklore and misunderstanding as to the
' determination of AWP and where we get the data.

AWP is the average wholesale price. That is, AWP is the average of the prices
charged by the national drug wholesalers for a given product (NDC). The
operative word is average. AWP was developed to provide a price that ail parties
could agree upon for electronic processing to be possibie.

In order to determine the AWP, First DataBank surveys national wholesalers to
ascertain what they use as a price basis in their AWP files. We contact the
wholesalers to determine what the markup should be for a new company or to
confirm that the markup that we are applying is current. A survey may be
performed on a single NDC number or for a manufacturer’s entire line of
products. In either case, each national wholesaler is surveyed on a number of
products from each manufacturer.

The number of surveys performed is increasing. First DataBank surveys drug
wholesalers that represent over two-thirds of the wholesaler total dollar volume.
The markup that First DataBank utilizes is representative of wholesalers on a
national level. Because individual wholesalers may mark up each manufacturer
differently, a weighted average, not a consensus average, is calculated. That is,
the market share held by the wholesalers surveyed affects the markup
proportionally. Wholesalers with higher drug dollar volumes have more weight in
the determination of the final markup. Thus, a higher degree of certainty is
achieved. We also consider the manufacturer’s suggested wholesale price (SWP)
in our determination.”!” .

79, At the First DataBank website “Frequently Asked Questions”, under the question “How
does First DataBank determine the Net Wholesale Price, Direct Price and Blue Book AWP as
published in NDDF Pius and PriceProbe?”, the following statement was retrieved in January
2005:

“The Net Wholesale Price (also known as the wholesale acquisition cost or
- wholesale price) represents the manufacturer’s published price for a drug product

5 Average Wholesale Price, as found on the American Society of Consultant Pharmacists website, with a note this
was last modified on 06/05/00. Online at http://www.ascp.con/public/ga/awp/awpinfo.shtml, accessed 1/22/2005.
Boldface in original. ,

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to wholesalers. The Direct Price represents the manufacturer’s published price for
a drug product to non-wholesalers.

First DataBank defines the ‘Blue Book Average Wholesale Price,’ which is
commonly used as A WP, as the average of prices published by wholesalers to
their customers for a given product. To determine Blue Book AWP, First
DataBank typically identifies the Net Wholesale Price (or in some cases, the
Direct Price) of a product, and then surveys the full-line national wholesalers to
determine the average mark up applied to the manufacturer’s line of products or a
specific product. Such surveys may be conducted at the request of our customers
or when a change in the marketplace occurs (such as a merger of manufacturers)
which might occasion a change in prices. First DataBank does not include:
regional wholesalers or specialty distributors in its survey.

First DataBank’s Blue Book AWP is not intended to represent the wholesale price
suggested by the manufacturer. Instead, First DataBank reports the
manufacturer’s suggested wholesale prices in a separate data field known as
‘SWP.’ In some cases, if manufacturers do not sell to wholesalers or if
wholesalers agree with the manufacturer’s suggested wholesale price, the Blue
Book AWP and SWP may be the same.''© .

80. Two further examples illustrate factors contributing to the continuing confusion and
ambiguity concerning AWP. First, in the 2000 edition of Novartis’ Pharmacy Benefit Report, an
industry trade publication, the glossary defines AWP as foliows:

“Average wholgsale price (AWP) ~ A published suggested wholesale price for a

drug, based on the average cost of the drug to a pharmacy from a representative

sample of drug wholesalers. There are many AWPs available within the industry,

AWP is often used by pharmacies to price prescriptions. Health plans also use

' AWP - usually discounted ~ as the basis for reimbursement of covered

medications.”""”
Second, a more recent widely cited California HealthCare Foundation report (prepared by a well-
known health care consulting firm) contains the following glossary definition:

“Average wholesale price (A WP) — A list of benchmark prices set by averaging _

across the spectrum of prices charged to pharmacies by wholesalers for both
brand-name and generic drugs. The current list price is published in recognized

16 First DataBank “Frequently Asked Questions”. Accessed online at

http://www firstdatabank.to tomer §' r/fags, on January 20, 2005.

NT Novartis Pharmacy Benefit Report: Facts & Figures, 2000 Edition, East Hanover, NJ, Novartis Pharmaceuticals
Corporation, p. 43.

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